Case 18-02154-als7       Doc 11    Filed 10/15/18 Entered 10/15/18 14:43:28        Desc Main
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SD IA-201 (11/02)
                              UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF IOWA

IN RE                                         )
                                              )   CHAPTER 7
KENNARD P. KLING                              )   CASE NO. 18-02154-ALS7
                                              )
                                              )   NOTICE OF INTENT TO SELL PROPERTY
                                              )   AND BAR DATE NOTICE
                                              )
Debtor                                        )   DATED: October 15, 2018

       The undersigned Trustee of the estate of the debtor named above, subject to objection
under Federal Rules of Bankruptcy Procedure, Rules 6004(b) & 9014, will sell the following
property of the estate:

         Debtor’s non-exempt equity in;

   2006 Lowe Fishing Boat
   2007 Playcraft Pontoon
   2012 Harley Davidson Tri-Glide
   1294 Timber Ridge, Sunrise Beach, MO


to the following purchaser:          Debtor Kennard P. Kling

for the following consideration:     $25,000.00

         NOTICE IS HEREBY GIVEN, any objections thereto must be served on the undersigned
Trustee at the address listed below; the United States Trustee at 210 Walnut Street, Room 793,
Des Moines, Iowa 50309-2108; the debtor(s) and debtor(s)’ counsel. Any objection must be
filed with the Clerk of Bankruptcy Court at P.O. Box 9264, Des Moines, Iowa 50306-9264 within
21 days of the date of this notice and report.



                                           /s/ Wesley B. Huisinga
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